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16                             UNITED STATES DISTRICT COURT
17                            EASTERN DISTRICT OF CALIFORNIA
18
   MICHAEL SMITH, on behalf of himself and      CASE NO. 2:14-CV-00327-LKK-AC
19 all others similarly situated,
                                                ORDER GRANTING THIRD
20               Plaintiff,                     EXTENSION OF TIME TO RESPOND TO
                                                COMPLAINT
21        vs.
                                                Current response due date: April 18, 2014
22 SPRINT/UNITED MANAGEMENT
   COMPANY,                                     New response due date: April 25, 2014
23
              Defendant.
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     [PROPOSED] ORDER GRANTING THIRD EXTENSION OF TIME TO RESPOND TO COMPLAINT
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 1            Pursuant to the third stipulation of Plaintiff Michael Smith (“Plaintiff”) and Defendant

 2 SPRINT/UNITED MANAGEMENT COMPANY, INC. (sued as “SPRINT/UNITED

 3 MANAGEMENT COMPANY”) (“Defendant”), the Court hereby orders:

 4            Defendant’s time to respond to the Complaint shall be and hereby is extended by seven (7)

 5 days, up to and including April 25, 2014.

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 7            IT IS SO ORDERED

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10 DATED: April 15, 2014

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      [PROPOSED] ORDER GRANTING THIRD EXTENSION OF TIME TO RESPOND TO COMPLAINT
